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                  Exhibit C
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                         AFFIDAVIT OF SRIRAM PARASURAMA

I swear under penalty of perjury that the following is true and correct:

   1. My name is Sriram Parasurama, I am a graduate student at Cornell University and I

       reside in Tompkins County, New York.

   2. I am a second-year Ph.D. student in the School of Integrative Plant Sciences. In 2023, I

       was awarded the NSF Graduate Research Fellowship to support my research on tree

       physiology and forest ecology. I have also served as a teaching assistant for the

       University and I currently maintain a 4.3 cumulative GPA.

   3. I was a close associate of Momodou Taal during the demonstrations that protested the

       Israeli government’s actions against the people of Palestine. Since the issuance of the

       executive orders in question, I have been deprived of my right to listen to my friend’s

       views and insights on what Israel is doing to the people of Palestine. Momodou always

       brings such a rich historical and cultural analysis to our discussions of the political

       situation in the US and internationally, but he’s been forced to stay quiet since the

       executive orders came out. We used to meet up all the time, go out for coffee, plan

       demonstrations, and discuss political issues but, despite our friendship remaining strong,

       the looming threat of disciplinary action has made our open association infinitely more

       tenuous.

   4. I am not able to interact with Momodou as much as before out of fear of being falsely

       labeled “anti-Semitic.” Additionally, given my own prior prominent involvement in

       protest activity and subsequent discipline, Momodou is not able to freely associate with

       me as it might lead officials, either at the university or the government, to believe that he
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      is engaging in “anti-American” activity. We have been forced to stop seeing each other in

      public.

   5. Having already dealt with criminal allegations, I fear being subjected to further criminal

      prosecution myself because of the second executive order here. It is unclear what type of

      speech, such as criticism of the state of Israel, might constitute “anti-Semitism,” as I do

      not harbor any ill will toward Jewish people at all. In fact, many of those who have been

      involved in protest activity with me are Jewish, and I consider our unity in opposition to

      American and Israeli government policy regarding Palestine to be a great strength of our

      movement. Nevertheless, I worry about interacting with my friends and fellow activists

      for fear of putting all of us at risk of deportation or criminal prosecution.

   6. As a scientist researching the impacts of climate change on our great North American

      forests, I additionally fear that pressure from these executive orders and my open

      association with Momodou and the Palestinian cause will negatively impact my ability to

      carry out my critical research. In order to maintain compliance with these directives, I

      worry that many of my grant and fellowship sources will revoke current funding or refuse

      to provide future funding for this vital research I conduct. I wholeheartedly believe in the

      mission of scientists, the pursuit and defense of knowledge and truth, but am restricted by

      the demonization of my and Momodou’s political thought.



Signed,

                                                     Date:
